                  Case 23-50117-KBO              Doc 7      Filed 07/12/23     Page 1 of 2




                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


 In re
                                                                      Chapter 7
 AKORN OPERATING COMPANY LLC                                          Case No. 23-10255 (KBO)

                                       Debtor.
 --------------------------------------------------------x            Adv. Proc. No._23-50117 (KBO)
 LISHA ABRAHAM, on behalf of herself and all
 others similarly situated,

                                       Plaintiff,
                                                                      CLASS ACTION ADVERSARY
                                 v.                                   PROCEEDING COMPLAINT

 AKORN OPERATING COMPANY LLC;

                                       Defendant.
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                                          NOTICE OF SERVICE

         I hereby certify that on July 12, 2023, I served a true and correct copy of the foregoing

Plaintiff’s Motion for (A) Class Certification, (B) Appointment of Class Representatives, (C)

Appointment of Class Counsel, (D) Approval of the Form and Manner of Class Notice, and (E)

Such Other and Further Relief this Court May Deem Appropriate via electronic mail and USPS

First Class Mail upon the following:

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              Case 23-50117-KBO   Doc 7       Filed 07/12/23   Page 2 of 2




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